Case 10-93904-BHL-11              Doc 1994 Filed 04/12/13 EOD 04/12/13 10:12:20                            Pg 1 of 2
                                 SO ORDERED: April 12, 2013.




                                 ______________________________
                                 Basil H. Lorch III
                                 United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                      NEW ALBANY DIVISION

 In re:                                                             )   Chapter 11
                                                                    )
 EASTERN LIVESTOCK CO., LLC,                                        )   Case No. 10-93904-BHL-11
                                                                    )
                            Debtor.                                 )

     ORDER ON TRUSTEE'S OBJECTION TO CLAIM 226 FILED BY RICHARD LYLE
                   AND NOTICE OF RESPONSE DEADLINE

          This matter is before the Court upon the Trustee's Objection To Claim 226 Filed By

 Richard Lyle And Notice Of Response Deadline (Docket No. 1846) ("Objection")1. The Court

 finds that (i) it has jurisdiction over the matters raised in the Objection pursuant to 28 U.S.C. §§

 157 and 1334; (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief

 requested in the Objection is in the best interests of the Debtor, its estate and its creditors; (iv)

 proper and adequate notice of the Objection and the hearing thereon has been given and that no

 further notice is necessary; and (v) good and sufficient cause exists for the granting of the relief

 provided herein after having given due deliberation upon the Objection and all of the

 1
     Capitalized terms not otherwise defined herein shall have the meaning ascribed to such terms in the Objection.
Case 10-93904-BHL-11        Doc 1994     Filed 04/12/13     EOD 04/12/13 10:12:20       Pg 2 of 2




 proceedings had before the Court in connection with the Objection. Therefore,

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

 The Claim is reclassified as a general unsecured claim (subject to reduction when Mr. Lyle

 receives payment from non-plan sources).

                                               ###
